              Case: 23-3808        Document: 3      Filed: 10/05/2023       Page: 1




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                 Filed: October 05, 2023




Mr. Jose Maria DeCastro
1258 Franklin Street
Santa Monica, CA 90404

                     Re: Case No. 23-3808, Jose DeCastro v. Pam Wagner, et al
                         Originating Case No. 1:22-cv-00204

Dear Mr. DeCastro,

   Your notice of appeal was received in the district court without your signature. Please sign
and return to this Court the enclosed copy of your notice of appeal. The deadline for returning
this document to the above address is October 19, 2023.

   Failure to comply may result in the dismissal of this appeal without further notice.

                                                 Sincerely yours,

                                                 s/Monica M. Page
                                                 Case Manager
                                                 Direct Dial No. 513-564-7021

cc: Ms. Dawn M. Frick

Enclosure
